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                        UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

Melanie Moore,                                 Case No. 8 :20-CV-02184MSS-SPF
     Plaintiff,
v.

Luis Marquez and
Pooches of Largo, Inc.,
     Defendants,
     ___________________/


         PLAINTIFF’S MOTION FOR TRANSCRIPTS AT GOVERNMENT
                              EXPENSE
     Pursuant 28 U.S.C. 753(f) Plaintiff-Appellant hereby respectfully moves the

     Court for an Order to provide a copy of trial and pretrial conference transcripts at

     government expense. Plaintiff is proceeding in forma pauperis and is without

     the financial means of paying for transcripts, which are necessary to prepare a

     factually correct appellate brief.

     Moreover, Plaintiff has incurred significant expense to recover unpaid wages over

     the last five years, including but not limited to, printing and copying expenses,

     transportation to and from district court on multiple occasions over the last three

     years, an outstanding balance of $375 for court-ordered mediation, and hundreds

     of dollars in witness and mileage fees to subpoena her former attorney Richard

     Celler and Defendant Marquez to appear and testify at trial. Plaintiff did not
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 recover the wages owed for work performed in 2018 and Defendants continue to

 be in possession of Plaintiff’s wages.

                                   Legal Standard

 A litigant who has been granted leave to proceed in forma pauperis on appeal

 may move to have transcripts produced at government expense. 28 U.S.C. §

 753(f); McKinney v. Anderson, 924 F. 2d 1500, 1511-12 (9th Cir. 1991)

 (production of transcript at government expense for in forma pauperis appellant

 in civil case proper if trial judge certifies “that the appeal is not frivolous and

 presents a substantial question”), overruled on other grounds by Heller v.

 McKinney, 502 U.S. 903, 112 S.Ct. 291, 116 L.Ed.2d 236 (1991). There are two

 statutes to consider in connection with such a request. See e.g., Morgan v. Doran,

 2007 WL 1080580, *1-2 (April 4, 2007, E.D.Cal.). First, 28 U.S.C. § 1915(c)

 defines the limited circumstances under which the court can direct the

 government to pay for transcripts for a litigant proceeding in forma pauperis. (c)

 Upon the filing of an affidavit in accordance with subsections (a) and (b) and the

 prepayment of any partial filing fee as may be required under subsection (b), the

 court may direct payment by the United States of the expenses of (1) printing the

 record on appeal in any civil or criminal case if such printing is required by the

 appellate court.... Such expenses shall be paid when authorized by the Director of

 the Administrative Office of the United States Courts. 28 U.S.C. § 1915(c).

 Second, 28 U.S.C. § 753(f) allows the court to order the government to pay for

 transcripts only if “the trial judge or a circuit judge certifies that the appeal is not
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 frivolous and the transcript is needed to decide the issue presented by the suit or

 appeal.” 28 U.S.C. § 753(f). A request for a transcript at government expense

 should not be granted unless the appeal presents a “substantial question.”

 Henderson v. United States, 734 F.2d 483, 484 (9th Cir. 1984). A substantial

 question exists where the issue before the court of appeals “is reasonably

 debatable.” Washburn v. Fagan, 2007 WL 2043854, *2 (July 12, 2007, N.D. Cal.)

 (citations and internal quotations omitted). If there is any doubt as to the merits,

 the issue of providing a transcript at government expense should be resolved in

 favor of the appellant. Id.

                                      Conclusion

 In light of the foregoing and Plaintiff’s inability to pay for transcripts, Plaintiff

 requests an order permitting her to obtain pretrial and trial transcripts at

 government expense.

                                Respectfully submitted,


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                              Certificate of Service


 On October 25, 2023, Plaintiff Melanie Moore filed the foregoing with clerk of

 court by using the CM/ECF system, which will send a notice of electronic filing to

 counsel for Defendants.


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